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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

iMedia Brands, Inc., et al.,1                                          Case No. 23-10852 (KBO)

                                            Debtors.                   (Jointly Administered)



           AMENDED2 NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
              HEARING ON JULY 5, 2023 AT 2:00 P.M. (EASTERN TIME)3


                             The hearing will be conducted via Zoom only.

                Please see below for the connection and registration information.
    Please Note: All individuals participating by video must register at least 2 hours prior to
     the hearing at the provided link. After registering your appearance by Zoom, you will
      receive a confirmation email containing information about joining the hearing. You
                   must use your full name when registering and logging into
                      Zoom or you will not be granted access to the hearing.

                                              Registration Link:

    https://debuscourts.zoomgov.com/meeting/register/vJItdOGopzgqG6jJXE8xCFDpa06g5
                                          Zhflz8




MATTERS GOING FORWARD

1.       Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Postpetition Use of
         Cash Collateral; (II) Granting Adequate Protection to Certain Prepetition Secured Parties
1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive,
Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc.
(2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951); FL
Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC (2642). The Debtors’
service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.

2
  Amended items are presented in BOLD.
3
  This agenda contains hyperlinks to filed documents pursuant to the Court’s Interim Order re: Cessation of Hand
Deliveries, dated March 13, 2020. Parties may access the filed documents through the hyperlink for a fee through
the Court’s website at www.deb.uscourts.gov.


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        and C&B Newco; (III) Scheduling a Second Interim Hearing; and (IV) Granting Related
        Relief [Filed 6/29/2023, Docket No. 18]

             Response Deadline: At the hearing

             Responses Received:

             a. Statement of Siena Lending Group, LLC Regarding Debtors’ Requested First-Day
                Relief [Filed 6/30/2023, Docket No. 57]

             Related Documents:

             a. Declaration of James Alt in Support of Debtors’ Motion for Entry of Interim and
                Final Orders (I) Authorizing Postpetition Use of Cash Collateral; (II) Granting
                Adequate Protection to Certain Prepetition Secured Parties and C&B Newco; (III)
                Scheduling a Second Interim Hearing; and (IV) Granting Related Relief [Filed
                6/29/2023, Docket No. 19]

             b. Notice of Hearing on Debtors’ Motion for Entry of Interim Order (I) Authorizing
                Postpetition Use of Cash Collateral; (II) Granting Adequate Protection to Certain
                Prepetition Secured Parties and C&B Newco; (III) Scheduling a Second Interim
                Hearing; and (IV) Granting Related Relief [Filed 6/29/2023, Docket No. 42]

             c. Notice of Filing of Revised Interim Order (I) Authorizing Postpetition Use of
                Cash Collateral; (II) Granting Adequate Protection to Certain Prepetition Secured
                Parties and C&B Newco; (III) Scheduling a Second Interim Hearing; and (IV)
                Granting Related Relief [Filed 6/30/2023, Docket No. 53]

             d. Interim Order (I) Authorizing Postpetition Use of Cash Collateral; (II) Granting
                Adequate Protection to Certain Prepetition Secured Parties and C&B Newco; (III)
                Scheduling a Second Interim Hearing; and (IV) Granting Related Relief [Entered
                6/30/2023, Docket No. 61]

             e. Notice of Entry of Interim Order and Further Interim Hearing Regarding Debtors’
                Motion for Entry of Interim and Final Orders (I) Authorizing Postpetition Use of
                Cash Collateral; (II) Granting Adequate Protection to Certain Prepetition Secured
                Parties and C&B Newco; (III) Scheduling a Second Interim Hearing; and (IV)
                Granting Related Relief [Filed 6/30/2023, Docket No. 68]

        Status: Subject to approval of the motion to shorten related to Agenda Item No. 2
        below, this matter will not go forward. The Debtors will seek use of cash collateral in
        connection with their motion to approve debtor in possession financing.




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MATTERS PRESENTED SUBJECT TO MOTION TO SHORTEN NOTICE

2.      Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
        to (A) Obtain Post-Petition Financing, (B) Grant Liens and Superpriority
        Administrative Expense Claims to Post-Petition Lenders and (C) Utilize Cash
        Collateral, (II) Providing Adequate Protection to Pre-Petition Secured Parties,
        (III) Modifying the Automatic Stay, (IV) Granting Related Relief, Pursuant to 11
        U.S.C. Sections 105, 361, 362, 363, 364, 503, 506, 507 and 552, and (V) Scheduling a
        Final Hearing Pursuant to Bankruptcy Rule 4001 and Local Rule 4001-2 [Filed
        7/3/2023, Docket No. 88]

             Response Deadline: At the hearing

             Related Documents:

             a. Debtors’ Motion for Entry of an Order Shortening Notice Related to
                Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
                Debtors to (A) Obtain Post-Petition Financing, (B) Grant Liens and
                Superpriority Administrative Expense Claims to Post-Petition Lenders and
                (C) Utilize Cash Collateral, (II) Providing Adequate Protection to Pre-
                Petition Secured Parties, (III) Modifying the Automatic Stay, (IV) Granting
                Related Relief, Pursuant to 11 U.S.C. Sections 105, 361, 362, 363, 364, 503,
                506, 507 and 552, and (V) Scheduling a Final Hearing Pursuant to
                Bankruptcy Rule 4001 and Local Rule 4001-2 [Filed 7/3/2023, Docket No. 91]

             b. Declaration of James Alt in Support of Debtors’ Motion to Obtain
                Postpetition Debtor in Possession Financing [Filed 7/3/2023, Docket No. 89]

             c. Declaration of Eugene Lee in Support of Debtors’ Motion to Obtain
                Postpetition Debtor in Possession Financing [Filed 7/3/2023, Docket No. 90

        Status: This matter will go forward with respect to an interim order if the Court
        grants the motion to shorten notice.

3.      Debtors’ Motion for Entry of Interim and Final Orders (I)(A) Approving the Debtors’
        Proposed Adequate Assurance of Payment for Future Utility Services, (B) Approving
        the Debtors’ Proposed Procedures for Resolving Additional Assurance Requests, and
        (C) Prohibiting Utility Providers from Altering, Refusing, or Discontinuing Services;
        and (II) Granting Related Relief [Filed 6/29/2023, Docket No. 16]

             Response Deadline: At the hearing

             Related Documents:

             a. Debtors’ Motion for Entry of an Order Shortening Notice Related to: (A)
                Debtors’ Motion for Entry of Interim and Final Orders (I)(A) Approving the
                Debtors’ Proposed Adequate Assurance of Payment for Future Utility
                Services, (B) Approving the Debtors’ Proposed Procedures for Resolving


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                 Additional Assurance Requests, and (C) Prohibiting Utility Providers from
                 Altering, Refusing, or Discontinuing Services; and (II) Granting Related
                 Relief; and (B) Debtors’ Motion for Entry of Interim and Final Orders (I)
                 Authorizing Debtors to Pay Certain Prepetition Claims of Lien Claimants
                 and Related Obligations, (II) Authorizing Debtors to Pay Certain Prepetition
                 Claims of Certain Section 503(b)(9) Claimants, and (III) Granting Related
                 Relief [Filed 7/3/2023, Docket No. 92]

        Status: This matter will go forward with respect to an interim order if the Court
        grants the motion to shorten notice.

4.      Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Debtors to
        Pay Certain Prepetition Claims of Lien Claimants and Related Obligations, (II)
        Authorizing Debtors to Pay Certain Prepetition Claims of Certain Section 503(b)(9)
        Claimants, and (III) Granting Related Relief [Filed 6/29/2023, Docket No. 13]

             Response Deadline: At the hearing

             Related Documents:

             a. Debtors’ Motion for Entry of an Order Shortening Notice Related to: (A)
                Debtors’ Motion for Entry of Interim and Final Orders (I)(A) Approving the
                Debtors’ Proposed Adequate Assurance of Payment for Future Utility
                Services, (B) Approving the Debtors’ Proposed Procedures for Resolving
                Additional Assurance Requests, and (C) Prohibiting Utility Providers from
                Altering, Refusing, or Discontinuing Services; and (II) Granting Related
                Relief; and (B) Debtors’ Motion for Entry of Interim and Final Orders (I)
                Authorizing Debtors to Pay Certain Prepetition Claims of Lien Claimants
                and Related Obligations, (II) Authorizing Debtors to Pay Certain Prepetition
                Claims of Certain Section 503(b)(9) Claimants, and (III) Granting Related
                Relief [Filed 7/3/2023, Docket No. 92]

        Status: This matter will go forward with respect to an interim order if the Court
        grants the motion to shorten notice.




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